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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

    CRYSTALLEX INTERNATIONAL CORP.,                    )
                                                       )
                          Plaintiff,                   )
                                                       )
          v.                                           ) Misc. No. 17-151-LPS
                                                       )
    BOLIVARIAN REPUBLIC OF VENEZUELA,                  )
                                                       )
                          Defendant.                   )

                           SPECIAL MASTER’S MOTION
              FOR AUTHORIZATION TO LAUNCH THE MARKETING PROCESS

         Special Master Robert B. Pincus (the “Special Master”) respectfully requests entry of an

Order, pursuant to paragraph 5 of the Sixth Revised Proposed Order (A) Establishing Sale and

Bidding Procedures, (B) Approving Special Master’s Report and Recommendation Regarding

Proposed Sale Procedures Order, (C) Affirming Retention of Evercore as Investment Banker by

Special Master and (D) Regarding Related Matters (the “Sale Procedures Order”) [D.I. 481],

authorizing the launch of the Marketing Process1 on October 23, 2023.2

In support of the requested relief, the Special Master states as follows:

         1.      The Court entered the Sale Procedures Order on October 11, 2022, pursuant to

which the Court held, among other things:

         The Initial Status Conference shall be held approximately 30 days after the
         Preparation Launch Date at a date and time to be set by the Court by separate order
         (the “Initial Status Conference”). At the Initial Status Conference, the Special
         Master shall provide the Court and interested parties with an update on his progress
         and the Special Master’s current estimate, if any, regarding launch of the Marketing
         Process. For the avoidance of doubt, the Special Master shall not launch the


1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
    Sale Procedures Order.
2
    Separately, the Special Master intends to file a status report prior to the Launch Date regarding
    his progress and to update the Court and interested parties on the Marketing Process.
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       Marketing Process until otherwise ordered by the Court.

Sale Procedures Order, ¶ 5.

       2.       On July 17, 2023, after consideration of the Special Master’s Supplemental Report

and Recommendation Pursuant to the Sale Procedures Order [D.I. 533], the responses of the Sale

Process Parties [D.I. 561, 562, 582, 584], and the Special Master’s reply [D.I. 583], the Court set

the Preparation Launch Date for July 24, 2023, and the Launch Date for October 23, 2023.

See D.I. 643.

       3.       The Initial Status Conference was held on September 12, 2023, during which the

Special Master provided the Court and interested parties with an update on his and his Advisors’

activities since the Preparation Launch Date, including review of information and documents

provided by CITGO in response to diligence requests, and preparation of a confidential

information memorandum and other marketing materials.

       4.       Since the Initial Status Conference, the Special Master and his Advisors have

continued to make progress on preparation of marketing materials. As such, the Special Master

hereby represents that he currently expects to be ready to launch the Marketing Process on October

23, 2023, as previously contemplated by the Court and without any further delay.

                                        CONCLUSION

       For the reasons articulated above, the Special Master requests that the Court enter an Order

authorizing the launch of the Marketing Process on October 23, 2023.




                                                2
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Dated: October 11, 2023                      Counsel for Special Master Robert B. Pincus
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 CRYSTALLEX INTERNATIONAL CORP.,             )
                                             )
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        v.                                   ) Misc. No. 17-151-LPS
                                             )
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                                             )
                      Defendant.             )



                                   [PROPOSED] ORDER

       WHEREAS, the Special Master filed his Motion for Authorization to Launch the

Marketing Process on October 23, 2023;

       IT IS HEREBY ORDERED this ____ day of October 2023 that the Special Master’s

Motion is GRANTED.


                                             _______________________________
                                             HONORABLE LEONARD P. STARK
                                             UNITED STATES DISTRICT COURT
